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                              UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF CALIFORNIA


  IN RE: FACEBOOK, INC. CONSUMER                   Case No. 18-md-02843-VC
  PRIVACY USER PROFILE
  LITIGATION,
                                                   ORDER RE OBJECTIONS TO CLASS
  This document relates to:                        ACTION SETTLEMENT
  ALL ACTIONS




       The Court will transmit all objections to the parties’ counsel. Lead plaintiffs’ counsel are

ordered to redact any sensitive information from the objections such as addresses, phone

numbers, or private information about a Facebook user’s account, and then file a PDF that

contains all the objections on the docket by July 30, 2023. The names of objectors should not be

redacted absent extraordinary circumstances. The Court will confirm that all the objections are

filed on the docket.

       IT IS SO ORDERED.
Dated: April 24, 2023
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge
